                  UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF TENNESSEE
                           AT GREENEVILLE




UNITED STATES OF AMERICA                       )
                                               )
v.                                             )            NO. 2:03-CR-62
                                               )
GARY MUSICK                                    )



                                     ORDER


             This criminal matter is before the Court to address the Defendant

Gary Musick’s Motion for Leave to Amend and Supplement Defendant

Musick’s Rule 33 Motion for New Trial. [Doc. 571]. The motion is

GRANTED. After careful consideration of the record as a whole, it is hereby

ORDERED as follows in regard to the defendant’s additional three grounds:

             13. The defendant contends that the presentence reports of George

Duarte and Eric Serna should have been disclosed to the defendant. The Sixth

Circuit has concluded that the possible use of a presentence report to impeach a

witness’ credibility or the use of a report as possible Brady material is not a

sufficient reason to compel disclosure of a report. United States v. Sherlin, 67




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F.3d 1208, 1217-1218 (6th Cir. 1995). Therefore, the defendant had no right to

disclosure of these reports.

             14. The defendant contends that the government should have

disclosed the summaries of the interviews of George Duarte or Eric Serna

contained in FBI 302s or DEA 6s because these summaries would aide the

defendant in confrontation or cross-examination. Under the Sixth Circuit's

"Adoption Test," a government report or notes of a witness' statement must be

produced "if the notes from the interview were read back to and verified by the

witness and if the report summarized the notes without material variation." United

States v. Williams, 962 F.2d 1218, 1224 (6th Cir.). The government represented to

the Court that these FBI 302s and/or DEA 6s were never adopted or approved by

Duarte or Serna. Therefore, these summaries were not subject to disclosure. See

United States v. Farley, 2 F.3d 645, 654-655 (6th Cir. 1993); United States v.

Minsky, 963 F.2d 870, 875 (6th Cir.1992).

             15. The defendant was not entitled to a mistrial based upon AUSA

Sullivan’s argument that the defendant could have called the case agent to testify.

The case agent was present in court and seated at counsel table as the government’s

representative during trial. The Court advised the defendant that he could have in

fact called the case agent and that the Court would have ordered that the case agent


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take the witness stand to testify, regardless of any Justice Department rules or

regulations to the contrary.

             ENTER:

                                                    s/J. RONNIE GREER
                                                UNITED STATES DISTRICT JUDGE




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